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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


JEFFREY FRANZ, et al,


                               Plaintiffs,
v.                                                   No. 21-cv-12871

OXFORD COMMUNITY SCHOOL DISTRICT, et al.,            Hon. Mark A. Goldsmith

                               Defendant


                            CASE MANAGEMENT ORDER
                           PRE-FACILITATION DISCOVERY

     I.         Discovery Coordination Protocol

          A.       Scope

          (1)      The purpose of this Order is to effectuate efficiency in the

 discovery processes associated with litigation arising out of claims made

 regarding the related Oxford High School Shooting Cases (“Oxford

 Cases”) listed below:

          Case No. 21-12871, Franz et al. v. Oxford Community School
          District et al. (E.D. Mich.);

          Case No. 22-10407, Asciutto et al v. Oxford Community
          School District et al. (E.D. Mich.);

          Case No. 22-10805, St. Juliana et al v. Oxford Community
          School District et al. (E.D. Mich.);


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          Case No. 22-11113, Myre et al. v. Oxford Community School
          District et al. (E.D. Mich.);

          Case No. 22-11250, Beausoleil v. Oxford Community School
          District, et al. (E.D. Mich.);

          Case No. 22-11251, Ossege v. Oxford Community School
          District, et al. (E.D. Mich.);

          Case No. 22-11360, GLJ, et al. v. Oxford Community School
          District, et al.; and

          Case No. 22-cv-11448 Mueller et al. v. Oxford Community
          School District et al. (E.D. Mich).

          (2)   This Order shall apply to the above referenced cases.1 This

 Order applies to all discovery permitted under the Federal Rules of Civil

 Procedure.

     B.   Prior Interrogatories and Document Requests.

                (a)   With reference to the written discovery conducted prior

 to the entry of this Order, Plaintiffs’ counsel currently in possession of

 discovery responses shall supply full and complete copies of the written

 discovery responses, including any documents to all other Plaintiffs’

 counsel subject to this Order. This subsection shall not require delivery


 1 The substance of this Order will be applicable to Case No. 22-194891-
 NO Poblette et al. v. Throne, et al. (Oakland County Circuit Court),
 before the Honorable James Cunningham, upon entry of an order to that
 effect by Judge Cunningham.
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 of written discovery response to the extent delivery in accordance with

 this subsection would contravene a confidentiality order or other

 protective order entered by the court with jurisdiction over the case in

 which the written discovery was issued. To the extent the discovery

 responses are subject to a confidentiality order or other protective order,

 in this case, Plaintiffs’ counsel in the above referenced cases shall enter

 into a substantially similar protective order to that entered into by the

 parties in the Franz et. al. v. Oxford Community School District, et. al.

 case with Defendants before Plaintiffs’ counsel may receive copies of

 those discovery responses.

                   (b)   Plaintiffs may not serve additional discovery requests

 beyond what was already requested, and subject to this Case

 Management Order, without seeking leave of the Court for good cause as

 to why such discovery requests and/or production would promote early

 resolution attempts for Facilitation.

 II.     Preliminary Discovery Prior to Early Facilitation

         In order to pursue early facilitation, the parties will stage discovery

 as set forth below. The parties agree to limit discovery to the exchange

 of “Preliminary Discovery” as described in this Order, which shall be


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 expressly limited to the following:

     A. Initial Disclosures. To the extent initial disclosures have not yet

         been exchanged by the parties, the parties shall exchange initial

         disclosures on or before September 9, 2022.

     B. Requests to Produce to Defendants.

             1. By September 22, 2022, each Defendant shall produce to

                   Plaintiffs the period of August 25, 2021, through June 10,

                   2022, all email communications and other electronic

                   communications generated or received by any Oxford

                   Community Schools District (“OCS”) employee, administrator

                   or staff (collectively “staff”) of any kind, concerning Ethan

                   Crumbley.

             2. By September 22, 2022, Defendants shall produce any text

                   messages generated or received by the following individuals

                   regarding Ethan Crumbley from a period of August 25, 2021,

                   until present:

                     i. All named Defendants in this matter including:

                           1. Mr. Timothy Throne;

                           2. Mr. Ken Weaver;

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                         3. Mr. Shawn Hopkins;

                         4. Mr. Nicholas Ejak

                         5. Ms. Pam Fine;

                         6. Mr. Steven Wolf;

                         7. Ms. Becky Morgan;

                         8. Ms. Allison Karpinski; and

                         9. Ms. Jacquelyn Kubina.

                   ii. Ethan Crumbley’s 10th grade teachers, includingthe

                      following:

                         1. Mr. Yinger;

                         2. Mr. Mezin;

                         3. Ms. Kubina;

                         4. Ms. Morgan;

                         5. Ms. Jasinski;

                         6. Ms. McConnell;

                         7. Ms. Brown; and

                         8. Ms. Cosey

                   iii. Mr. Nuss, Mr. Nelms, and Ms. Gibson-Marshall, the

                      Oxford High School Assistant Principals;

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                    iv. The Assistant Superintendents for the School District

                        including:

                           1. Mr. Barna, the Assistant Superintendent of

                              Business & Maintenance;

                           2. Mr. Pass, the Assistant Superintendent of Human

                              Resources; and

                           3. Ms. Lemond, the Assistant Superintendent of

                              Safety & School Operations

                     v. The two (2) identified secretaries that receive calls from

                        the public who work in the main office: Ms. Melissa

                        Williams and Ms. Stephanie Shefcyk.

             3. By September 22, 2022, Defendants shall inquire from all

                   Oxford High School teachers not identified in subsection (2) if

                   they had sent and/or received any text messages regarding

                   Ethan Crumbley during the applicable timeframe, and if so,

                   produce the same.

             4. By September 22, 2022, each Defendant shall produce to

                   Plaintiffs the email communications from the period of

                   August 25, 2021, through December 1, 2021, regarding any

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                   threat and/or safety or security issue related to Oxford High

                   School, staff or student. This request includes, but is not

                   limited to, documents and communications from or to law

                   enforcement, and any OCS parent, student or other third

                   party that has not already been produced in response to a

                   discovery request.

             5. By September 22, 2022, each Defendant shall produce

                   Electronic or Hard-copy documents relating to school safety

                   in use during the 2021-2022 school year not otherwise

                   produced above, including policy statements, memorandum

                   regarding school safety and risk assessment that has not

                   already been produced in response to a discovery request.

             6. By September 22, 2022, each Defendant shall produce

                   insurance   policies   of       Defendant   School   District   and

                   Individual Defendants, reservation of rights, relevant

                   correspondence with insurance carriers together with a

                   30(b)(6) deposition limited to insurance coverage if needed,

                   that has not already been produced in response to a discovery

                   request and/or in initial disclosures.

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             7. By September 22, 2022, each Defendant shall produce any

                   and all documents, materials, photos, videos, policies and/or

                   procedures, and information provided in response to FOIA

                   requests received by the Oxford Community School District.

     C. Requests to Produce to Plaintiffs.:

             1. By September 22, 2022, each Plaintiff shall produce to

                   Defendants the following:

                     i. Signed authorizations for medical records.

                     ii. Any and all medical records currently in their

                        possession.

                    iii. Any and all documents received in response to FOIA

                        requests described in the notice issued to Defendants

                        under Section II (F)(1).

             2. Thirty Days prior to Early Facilitation, Plaintiffs shall

                   provide:

                     i. Any and all documents, including but not limited to,

                        written material, notes, reports, records, videos,

                        photographs, emails, correspondence, or any other ESI

                        within their possession in support of their claims

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                        against Defendants. Plaintiffs shall simultaneously

                        produce these documents to all other Plaintiffs.

                     ii. Any and all text messages, and social media posts in the

                        Plaintiffs’ possession regarding allegations contained in

                        their complaint.

                    iii. Any and all documents, notes, reports, records, videos,

                        photographs, emails, text messages, social media posts,

                        correspondence, or any other ESI received from any and

                        all non-parties including but not limited to the Oakland

                        County Sheriff’s Department, the Oakland County

                        Prosecutor’s Office, the Oxford Police Department, the

                        criminal defense attorneys for Ethan Crumbley,

                        Jennifer Crumbley, and James Crumbley, OK2SAY,

                        any parents or students from Oxford Community

                        Schools.

     D. Document-Only Subpoenas to Non-Parties:

             1. This Order applies to subpoenas issued in the Oxford Cases

                   to non-parties who are commanded by the subpoena to

                   produce documents, electronically stored information, and

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                   tangible things but who are not commanded by the subpoena

                   to provide testimony.

             2. Plaintiffs and/or any Defendants may cause a subpoena for

                   discovery purposes to be properly served on a non-party in

                   accordance with Federal Rule of Civil Procedure 45 or with

                   the non-party’s agreement to accept service by other means.

                   Prior to the issuance of the subpoena, the issuing Plaintiffs’

                   attorney shall make reasonable efforts to coordinate with

                   other Plaintiffs’ counsel to ensure that the request to the non-

                   party is sufficiently inclusive. A Plaintiffs’ attorney who

                   issues a Document Only Subpoena to a non-party shall serve

                   a copy of the subpoena on all other Plaintiffs’ counsel and on

                   Defense Counsel.

             3. Fifty percent of the costs associated with third-party

                   discovery shall be borne by Plaintiffs, and fifty percent of the

                   costs associated with third-party discovery shall be borne by

                   Defendants.

     E. Exchange of Freedom of Information Act Materials

             1. Within seven (7) days from entry of this order, all parties will

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                   give written notice to all other parties of documents and other

                   information that they have obtained by means of Freedom of

                   Information Act (FOIA) requests submitted both to parties

                   and non-parties pursuant to 5 U.S.C. § 552, Mich. Comp.

                   Laws §§ 15.231–246, or any statute or regulation of similar

                   purpose in any other state. This paragraph applies to any

                   information obtained through FOIA requests relating to the

                   Oxford Cases regardless of the source or recipient of the FOIA

                   request. The notice described above shall concisely identify

                   the person, agency, or entity that provided the FOIA

                   response, approximately when the response was provided, the

                   form in which it was provided, approximately how large the

                   response was, and the general types of materials included in

                   the response. Copies should be produced in the same form in

                   which they were produced in response to the FOIA request

                   unless they are no longer available in that form. Counsel have

                   an obligation to ascertain the FOIA materials over which they

                   have control.

     F. Privilege Logs:

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             1. Each party agrees to comply with F.R.C.P 26(b)(5) with

                   regards to materials in which a privilege is claimed.

     G. Privilege Waiver

             1. Each party agrees that submission of documents will be

                   subject to and not considered a waiver of any applicable

                   privilege such as attorney/client and/or work product

                   privilege.

     H. Depositions. In order to explore early settlement negotiations and

         facilitation, parties agree that Plaintiffs may conduct one Rule

         30(b)(6) deposition of the Oxford Community Schools designated

         corporate representative regarding insurance coverage applicable

         to the Oxford Defendants. Any party may participate in the 30(b)(6)

         deposition by remote means. Counsel participating in the 30(b)(6)

         deposition remotely, shall have the same opportunity to examine

         the witness as counsel attending in person. The parties may only

         seek additional depositions for the purposes of early facilitation, by

         leave of court with a request for good cause as to why the additional

         deposition(s) is (are) beneficial to participating in early facilitation.

 III. Facilitation and Post-Facilitation Discovery

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         Following completion of Preliminary Discovery, the parties will

 proceed with Kara Tertzag Lividini as the agreed facilitator to seek early

 resolution of the claims. At this time facilitation is scheduled to occur in

 September and/or October of 2022. Once a date is selected by all parties

 mutually, Plaintiffs’ counsel will notify the Court of the selected date for

 entry. This Order shall be in effect until all parties have had the ability

 to engage in early facilitation scheduled in September and/or October

 with Kara Tertzag. Facilitation must be completed by no later than

 October 31, 2022.

         Should facilitation with Kara Tertzag Lividini prove to be

 unsuccessful, the parties agree that post-facilitation discovery will be

 governed by the Federal Rules of Civil Procedure and to coordinate

 further post-facilitation discovery pursuant to a separate order. The

 separate order shall then supplement and replace this Order.

         SO ORDERED.

 Dated: August 23, 2022                    s/Mark A. Goldsmith
      Detroit, Michigan                    MARK A. GOLDSMITH
                                           United States District Judge




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